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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                JUDGE R. BROOKE JACKSON


Civil Action:         20-cv-01485-RBJ                       Date: October 21, 2021
Courtroom Deputy:     Julie Dynes                           Court Reporter: Sarah Mitchell

                Parties                                                 Counsel

 KEITH CLINGMAN                                                  Christopher Anderson
                                                                     Penn Dodson
                          Plaintiff

 v.

 DRIVE COFFEE LLC                                                     Lisa Nobles
 DRIVE COFFEE INC
 ALEX GRAPPO
                 Defendant



                                      COURTROOM MINUTES



TELEPHONE TRIAL PREPARATION CONFERENCE

Court in Session: 1:31 p.m.

Appearance of counsel – all participants are present via telephone.

Discussion held on the claims in the case.

Discussion held on disputed witnesses.

Discussion held on disputed exhibits.

Parties will confer on jury instructions after the ruling on summary judgment motions is issued.

Additional discussion on New York labor law.

Discussion held on jurisdictional amount and the Court’s calendar.
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Court in Recess: 3:23 p.m.   Hearing concluded.    Total time in Court: 01:52
